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     To W hom itM ay Concern:

     Iam Amanda Barker,lmperialKom manderofThe LoyalW hite Knightsofthe Ku Klux Klan.
     Recentlywe have com e underextreme fire forbeing a hate group.Thiscouldn'tbefartherfrom
     the truth.Any reasonable person,w hetherhe believesin ourcause ornot,can easily see that
     w heneverwe show upto dem onstrate,we are the oneswho are attacked.Always.Itisnever
     the otherway around.Ouronly tenet,and ouronly requestisthatwe be Ieftalone to pursue
     ourrightto stayw hite and pure aswe believe God intended.

     Thishasbeenatroublingyearforus.W ehavecried outto preserveourlandmarksand our
     heritage,aswellastoban àarmfulliterature.suchasSweetTea,TheSlaveShipandTheSlave
     Playersbecause they are obviously deviantwritingswhose intentisto spread hate and corrupt
     tbe m indsand m oralsofouryouth.W e should be applauded forthis,and yetwe are constantly
     attacked Wheièiièrwe gather.And we have been accused ofcausing harm to'the very people
     who come outto attackus.Aswe enterthe holiday season we'askGod to blesspurcause and
     show tolerance forourabusers.And in the spiritofthe Savior,we wish no harm to anyone,so
     Iong asthey resped ourrightto self-destiny.

     AnyonewhohasnoiIIintentcancontactmeattoyal.white.knights.ofice@gmail.com


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